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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 12-22426-civ-MORENO
   ELOY VALDES,

                 Plaintiff,
   vs.
   THOMAS MARTINEZ, individually,
   ORLANDO SANCHEZ, individually,
   WILLIAM LOPEZ, individually,
   DANIEL PUERTO, individually, and
   MIAMI-DADE COUNTY, FLORIDA,

               Defendants.
   ____________________________________/

            PLAINTIFF’S MOTION IN LIMINE TO STRIKE OR EXCLUDE
           DEFENDANT’S EXPERT WITNESS AND ALL EXPERT OPINIONS

          COMES NOW, the Plaintiff, ELOY VALDES, (hereinafter referred to as the

   Plaintiff), pursuant to Fed.R.Civ.P. 26 and 37, Local Rule 16.1(K) and Order of Court dated

   December 4, 2014 [D.E. 55] files this his Motion in Limine to Exclude Defendant’s Expert

   Witness, Dr. Jason M. Buchwald. In support thereof, Plaintiff would state as follows:

          1.     On December 4, 2014, this Court entered its Scheduling Order Setting Trial [DE 55]

   establishing a discovery cutoff date of February 18, 2015.

          2.     On January 12, 2015, Defendants provided Plaintiff their initial Rule 26 disclosures.

   A copy is attached as Exhibit “A.” Dr. Jason M. Buchwald nor any other“expert” witness was

   listed. Defendants have never supplemented their Rule 26 disclosures.

          3.     On March 16, 2015, 26 days after close of discovery, Defendants served

   Plaintiff with their Expert Witness Disclosure of Dr. Buchwald, along with his Declaration


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   and “C.V.”, copies of which are attached hereto.

             5.     In ¶7 of his declaration, Dr. Buchwald gives a forensic opinion regarding to

   the source of bruises resulting from the February 21, 2008 incident depicted in post-arrest

   photographs taken of Plaintiff. In essence, the doctor is rendering an opinion as to how the

   bruising would have occurred or not occurred.

             6.     In ¶8 of his declaration, Dr. Buchwald states that Plaintiff’s claims are

   “unfounded.” This is an impermissible comment upon Plaintiff’s credibility.

             7.     Not only was the expert witness and report disclosed after close of discovery,

   the report states irrelevant, speculative and conclusory opinions, impermissibly comments upon the

   credibility of Plaintiff, and the doctor is not qualified to opine on the matters set forth within the

   report.

                                    MEMORANDUM OF LAW

             A court order establishing a discovery deadline constitutes “other directions from the

   court” which imposes a deadline for disclosure of expert report. Sherrod v. Lingle, 223 F.3d

   605, 612-13 (7th Cir. 2000). Fed.R.Civ.P. 26(a)(2)(B). The rule provides that:

                    Except as otherwise stipulated or directed by the court, this
                    disclosure shall, with respect to a witness who is retained or
                    specially employed to provide expert testimony in the case ... be
                    accompanied by a written report prepared and signed by the
                    witness. The report shall contain a complete statement of all
                    opinions to be expressed and the basis and reasons therefor; the
                    data or other information considered by the witness in forming
                    the opinions; any exhibits to be used as a summary of or support
                    for the opinions; the qualifications of the witness, including a
                    list of all publications authored by the witness within the


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                  preceding ten years; the compensation to be paid for the study
                  and testimony; and a listing of any other cases in which the
                  witness has testified as an expert at trial or by deposition within
                  the preceding four years. Fed.R.Civ.P. 26(a)(2)(B) (emphasis
                  added).

          Under Fed.R.Civ.P. 37(c)(1), neither a motion in limine nor motion to compel is

   deemed a prerequisite to moving to exclude an expert witness for the failure to disclose

   expert opinions. This is because exclusion of expert testimony pursuant to the rule is

   automatic and mandatory unless, as is stated above, the nonmovant can show that the failure

   to disclose was substantially justified or that the failure is harmless. 1st Source Bank v. First

   Resource Fed. Credit Union, 167 F.R.D. 61, 66-67(N.D. Ind. 1996)(noting that "no

   mechanism exists for a disclosing party to test the sufficiency of its disclosure," prior to the

   opposing party filing of a motion in limine or objecting at trial). See also Mid-America

   Tablewares, Inc. v. Mogi Trading Co., Ltd., 100 F.3d 1353, 1362 (7th Cir. 1996)(citing

   Finley v. Marathon Oil Co., 75 F.3d 1225, 1230 (7th Cir. 1996); Thurston v. Borden Waste-

   Away Serv., 1998 U.S. Dist. LEXIS 12105, *4 (N.D. Ind.); Wright & Miller, Federal

   Practice and Procedure, § 2289.1. Plaintiff may either move to exclude expert testimony

   pursuant to the automatic exclusion provision of Rule 37 or via motion in limine. See Asia

   Strategic Inv. Alliances v. GE Capital Servs., 1997 U.S. Dist. LEXIS 3152, *5 (Kan.

   1997)(lack of order providing for deadline for filing motions in limine does not bar motions

   to exclude). In order to avoid surprise at the time of trial, Plaintiff files this motion in limine

   well in advance or rather than waiting for the time of trial to move to prevent Defendants



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   from offering any expert opinions.

           In order to comply with the expert reporting requirement, a party is required to

   "disclose the data and other information considered by the expert", Dunkin' Donuts Inc. v.

   Patel, 174 F. Supp. 2d 202, 211 (D. N.J. 2001), and “provide the substantive rationale in

   detail with respect to the basis and reasons for the proffered opinions... explain[ing] factually

   why and how the witness has reached them." Hilt v. SFC, Inc., 170 F.R.D. 182, 185 (D. Kan.

   1997). The purpose for such disclosure is to avoid 'sketchy and vague' expert information.

   Sierra Club v. Cedar Point Oil Co., 73 F.3d 546, 571 (5th Cir. 1996). An expert report is not

   required just to avoid surprise but "is intended to set forth the substance of the direct

   examination of the expert witness" and avoid taking unnecessary depositions.                    Reed v.

   Binder, 165 F.R.D. 424, 429 (D.N.J. 1996).

           Pursuant to Fed.R.Civ.P. 37(c)(1) provides that if a party "fails to provide information or

   identify a witness as required in Rule 26(a) ... the party is not allowed to use that information or

   witness to supply evidence ... at a trial, unless the failure was substantially justified or is harmless."

   Fed. R. Civ. P. 37(c)(1).

           The final step in determining whether the automatic exclusion provisions of Rule

   37(c)(1) apply is whether there was substantial justification for the failure to disclose or

   harmlessness to Plaintiff. Despite having each and every document relied upon by the

   witness since this case began years before, Defendants deliberately withheld disclosure of

   Dr. Buchwald until after the discovery cut-off expired. This renders the report untimely. See


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   Holmes v. Perker, 2012 WL 3562349, *1-2 (S.D. Ga. August 14, 2012)(citing OFS Fitel, LLC v.

   Epstien, Becker & Green, PC, 549 F.3d 1344)(11th Cir.)(granting exclusion after consideration of

   factors set forth in Fitel). See also The Lamar Company v. City of Marietta, Georgia, 538 F.Supp.2d

   1366, 1377-1378 (N.D. Ga. 2008)(expert report served after close of discovery); Semi-Tech

   Litigation LLC v. Bankers Trust Co., 219 F.R.D. 324 (S.D.N.Y. Jan. 6, 2004) (finding that an expert

   report served on the last day of the discovery period was untimely); Auscape International v.

   National Geographic Society, No. 02-CV-6441 LAK, 2003 WL 2004463 (S.D.N.Y. April 28, 2003)

   (finding that an expert report served on the last day of the discovery period was untimely); Indura

   SA v. Engineered Controls International, Inc., 2011 WL 3862083, *16 (M.D.N.C. September 1,

   2011)(prohibiting use of rebuttal expert report disclosed after discovery period expired).

          In cases such this, where a party intentionally withholds expert witness disclosures

   and expert opinions which leaves a party guessing what the witness’ testimony will be,

   courts have found the conduct to create profound prejudice, requiring exclusion of that

   evidence. Williams v. Roberts, 202 F.R.D. 294, 297 (M.D. Ala. 2001). See also Bowden

   v. Wal-Mart Stores, Inc., 2001 U.S. Dist. LEXIS 7213 (M.D. Ala.)(where plaintiff failed to

   designate doctor as an expert or provide Rule 26 disclosures, conduct was neither

   substantially justified nor harmless). Yet, “substantial justification” requires justification to

   a degree that could satisfy a reasonable person that parties could differ as to whether the

   party was required to comply with the disclosure request and must have a reasonable basis

   in law and fact. “The test is satisfied if there exists a genuine dispute concerning

   compliance."Pierce v. Underwood, 487 U.S. 552, 565, 101 L. Ed. 2d 490, 108 S. Ct. 2541


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   (1988); Chapple v. Alabama, 174 F.R.D. 698, 701 (M.D. Ala. 1997). If reasonable minds

   would not disagree that Defendants’ experts (if any) are/were required to prepare a report or

   summary, the intentional or negligent failure to disclose the reports, summaries or opinions

   mandate exclusion of all expert opinions Defendant may seek to offer. Lintz v. American

   Gen. Fin., Inc., 1999 U.S. Dist. LEXIS 12572, *17 (D. Kan.). Defendants shall have the

   burden of establishing either substantial justification or that the failure to provide the

   information is harmless. Palmer v. Rhodes Mach., 187 F.R.D. 653, 657 (N.D. Okl. 1999);

   Chapple, 174 F.R.D. at 702, n. 3. It has been said that:

                  A party may not simply retain an expert and then make whatever
                  disclosures the expert is willing or able to make notwithstanding
                  the known requirements of Rule 26. The adverse party should
                  not be placed at a disadvantage or be deprived of the full
                  benefits of Rule 26 by the selection of an expert who cannot or
                  will not make the required disclosures. The selection and
                  retention of an expert witness is within the control of the party
                  employing the expert. To the extent that there is a disadvantage
                  created by the expert's failure to disclose it must be borne by the
                  party retaining the expert witness.


   Nguyen v. IBP, Inc., 162 F.R.D. 675, 681 (D. Kan 1995). Since their failure to supplement

   the interrogatories pursuant to Rule 26(e)(2) is not harmless, Defendants’ failure to do so

   bars them under Rule 37(c)(1) from using any expert opinion evidence at trial. Fed.R.Civ.P.

   37(c)(1); Portis v. City of Chicago, 2005 WL 991995, *9 (N.D.Ill.) (N.D.Ill. 2005).

          This Court should strike the expert report. This report offers bare conclusions, and most of

   the report centers on medical matters that will not even be in issue at trial. Moreover, the doctor is


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   not qualified to testify on certain matters contained in the report. Federal Rule of Evidence 702

   provides that “[i]f scientific, technical, or other specialized knowledge will assist the trier of fact

   to understand the evidence or to determine a fact in issue, a witness qualified as an expert by

   knowledge, skill, experience, training or education, may testify thereto in the form of opinion or

   otherwise.” Fed. R. Evid. 702. Rule 702 “also requires that: (1) the testimony must be based upon

   sufficient facts or data; (2) it must be the product of reliable principles and methods; and (3) the

   witness must have applied the principles and methods reliably to the facts of the case.” Happel v.

   Walmart Stores, Inc., 602 F.3d 820, 824 (7th Cir. 2010).

          The Rule requires that the district court serve as a “gate-keeper” who determines whether

   “proffered expert testimony is reliable and relevant before accepting a witness as an expert.” Winters

   v. Fru-Con Inc., 498 F.3d 734, 741-42 (7th Cir. 2007) (quoting Autotech Tech. Ltd. P'ship v.

   Automationdirect.com, 471 F.3d 745, 749 (7th Cir. 2006)). The trial court must “make certain that

   an expert, whether basing testimony upon professional studies or personal experience, employs in

   the courtroom the same level of intellectual rigor that characterizes the practice of an expert in the

   relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999)(adopting Daubert v

   Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) as the relevant standard for all expert

   testimony). Finally, “The proponent of the expert bears the burden of demonstrating that the expert?s

   testimony would satisfy the Daubert standard „by a preponderance of the evidence.? ” Makor Issues

   & Rights, Ltd. v. Tellabs, Inc., 02 C 4356, 2010 U.S. Dist. LEXIS 62114, at *12 (6/23/10) (St. Eve,

   J.); quoting Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 705 (7th Cir. 2009).

          Relevancy. Initially, this Court should determine whether Dr. Buchwald’s opinions are

   relevant to the issues in this case. An expert?s testimony “must rest on a reliable foundation? and


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   be “relevant to the task at hand.? ” Makor, 2010 U.S. Dist. LEXIS 62114, at *10 (emphasis added);

   quoting Kumho, 526 U.S. at 141. “Daubert instructs that expert testimony must be relevant and

   factually linked to the case in order to meet Rule 702's “helpfulness? requirement.” United States

   v. Gallardo, 497 F.3d 727, 733 (7th Cir. 2007); Daubert, 509 U.S. at 591 (emphasis added).

          Explanation/Bare Conclusions/Speculation. Additionally, this Court must determine

   whether there is a medical basis for each opinion, and must ensure that each opinion is not

   conclusory or speculative. For expert testimony to be admissible, the opinion must not be based on

   “subjective belief or unsupported speculation.” Daubert, 509 U.S. at 589-90; McMahon v.

   Bunn-O-Matic Corp., 150 F.3d 651, 657-58 (7th Cir. 1998) (“a “bare conclusion? offered without

   explanation or empirical support fails the reliability requirement of Rule 702). “An expert opinion

   must “set forth facts? and, in doing so, outline a reasoning arising from a logical foundation.”

   Olmstead v. CU Interface, LLC, 606 F.3d 262, 271 (6th Cir. 2010). “In simple language, this means

   that the report must contain all the information relating to the “how” and “why” the expert reached

   the conclusions and the opinions contained within the report.” The report consist of conjecture. An

   example – Plaintiff had no bruising to his face – when he testified that he was not struck in his face,

   only that the officers pushed his face against the elevator wall.


          Impermissible Commentary on Plaintiff’s Credibility. This Court should strike the opinions

   of Dr. Buchwald because they impermissibly comment on the credibility of the Plaintiff. For expert

   testimony to be admissible, not only must the opinion must not be based on “subjective belief or

   unsupported speculation,” Daubert, 509 U.S. at 589-90, “an expert cannot testify as to credibility

   issues.” Goodwin v. MTD Products, 232 F.3d 600, 609 (7th Cir. 2000). This has been the law in this



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   circuit for decades. Smith v. Universal Services, Inc., 454 F.2d 154 (5th. Cir. 1972)(“The credibility

   of witnesses has historically been the sole function of the fact finder. An opinion concerning

   credibility by a so-called expert would be superfluous and inadmissible.”). Dr. Buchwald’s report

   violates both principles of expert-testimony law.


           Qualifications. Finally, this Court must determine whether the particular expert is qualified

   to give the opinion. “[P]ossessing requisite credentials alone is not enough to render expert

   testimony admissible.” Clark v. Takata Corp., 192 F.3d 750, 759 n.5 (7th Cir. 1999) (“A supremely

   qualified expert cannot waltz into the courtroom and render opinions unless those opinions are

   reliable and relevant under the test set forth by the Supreme Court in Daubert.”). Generalized

   knowledge within an area is not necessarily enough to qualify one as an expert on a particular matter

   because: “[A]n expert?s qualifications must be within the same technical area as the subject matter

   of the expert's testimony; in other words, a person with expertise may only testify as to matters

   within that person?s expertise. Generalized knowledge of a particular subject will not necessarily

   enable an expert to testify as to a specific subset of the general field of the expert's knowledge.? Id.

   at 18-19; quoting Martinez v. Sakurai Graphic Sys. Corp., 2007 U.S. Dist. LEXIS 65132, 2007 WL

   2570362, at * 2 (N.D. Ill. Aug. 30, 2007).


                                              CONCLUSION


           WHEREFORE, Plaintiff respectfully requests this Honorable Court grant the Plaintiff?s

   motion in limine and strike the expert opinions and report of Dr. Buchwald, and further order that

   said witness not be allowed to testify at trial.


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                CERTIFICATE OF CONFERRAL WITH OPPOSING COUNSEL


          I, Michael Garcia Petit, Esq., Plaintiff’s counsel, certify that I orally conferred with

   Defendants’ counsel, Ezra Greenburg, Esq., on April 14, 2015 in a good faith effort to

   resolve by agreement the issues raised in this motion. The parties could not reach an

   agreement.


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

   via CM/ECF on April 14, 2015. I also certify that the foregoing document is being served this day

   on all counsel of record or pro se parties in the manner specified, either via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

   parties who are not authorized to receive electronically Notices of Electronic Filing.




                                                  /s/ Michael Garcia Petit




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                            Eloy Valdes v. Miami-Dade County, Florida, et al.
                           Case No.: 12-22426-civ-MORENO-OTAZO-REYES
                       United States District Court, Southern District of Florida


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